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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                §
    In re:                                                           Chapter 11
                                                                §
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                                §
                                                                §
                                    Reorganized Debtor.
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §
                                    Plaintiff,                  §    Adversary Proceeding No.
                                                                §
    vs.                                                         §    21-03003
                                                                §
    JAMES DONDERO, NANCY DONDERO, AND                           §
    THE DUGABOY INVESTMENT TRUST,                               §
                                                                §
                                    Defendants.                 §




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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      PLAINTIFF’S AMENDED NOTICE OF DEPOSITION TO JAMES DONDERO

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P., the plaintiff in the above-referenced

adversary proceeding in the above-captioned chapter 11 case, shall take the deposition of James

Dondero on October 20, 2021, commencing at 9:30 a.m. Central Time or at such other day and

time as the Plaintiff may agree in writing. The deposition will be taken under oath before a notary

public or other person authorized by law to administer oaths and will be visually recorded by

video or otherwise.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.




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 Dated: October 8, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

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